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              EXHIBIT A
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                                       connecting passenger waiting time and to maximize passenger convenience and
                                       service, subject to the Parties' respective operational constraints and
                                       commercial considerations. Notwithstanding this Article 3 or Article 4, each
                                       Party will continue to make independent decisions regarding pricing, capacity
                                       and network management for its Scheduled Passenger Services and will
                                       provide guidance to its business personnel responsible for implementation and
                                       management of the NEA to ensure such independent decision-making.

                            3.1.2      Without limiting the generality of the foregoing, the Parties shall, for the
                                       beneft of consumers:

                                      3.1.2.1   endeavor in good faith to optimize their respective, individual network
                                                plans regarding the NEA Services throughout the term of this
                                                Agreement after due consultation on all aspects of its network plans
                                                related to the NEA Services, including with respect to each Party's
                                                usage of terminal facilities;

                                      3.1.2.2   develop a process to ensure timely communication of such schedules
                                                between the Parties to allow adequate lead times for each Party to plan
                                                resources effectively; and

                                      3.1.2.3   regularly review performance of the NEA Services. If any routes
                                                within the NEA Services are underperforming when measured against
                                                the expected performance forecast for such routes by the Party
                                                operating such Services or as jointly agreed by the Parties, the Parties
                                                will endeavor in good faith to agree to a course of remedial action,
                                                while each Party will maintain its independent decision-making
                                                authority.

                     3.2      Sales and Marketing Cooperation. The Parties agree to explore opportunities, where
                              commercially reasonable, to implement certain sales and marketing activities to
                              enable the Parties to facilitate the delivery of improved customer benefts and to
                              provide customers with greater availability of discounted fares and a broader range of
                              benefits. These sales and marketing opportunities may involve, for example,
                              developing joint customer bids incorporating discounts for mutual corporate
                              customers to encourage flying on both airlines and including each carrier's metal into
                              agency commission programs. The Parties agree to collaborate, at their own expense,
                              to create joint service and support propositions that offer a seamless experience for
                              customers and endeavor to develop a novel common corporate customer recognition
                              program for select corporate customers to enhance traveler experience. With respect
                              to certain accounts on a case-by-case basis, and only in response to those customers'
                              respective requests, the Parties may agree to enter into joint corporate sales
                              agreements with such customers. Each Party will provide its business personnel
                              involved in joint sales and marketing efforts with appropriate guidance to ensure
                              compliance with all Applicable Law.

                     3.3      Co-Location, Facilities and Other Operational Efficiencies. The Parties will consider
                              opportunities to better utilize assets for the NEA at the NEA Airports and other
                              facilities to obtain operational efficiencies or other benefts of the NEA and for




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                              passengers using services included in the NEA, including, perhaps, having co-located
                              facilities at agreed airports.

                     3.4 Slot Usage and Maintenance.

                            3.4.1      Each Party may temporarily lease or sublease Slots to the other Party at the
                                       NEA Airp orts from time to time during the term of this Agreement pursuant to
                                       the terms and conditions set forth in Appendix C.

                            3.4.2      During the term of this Agreement, the Parties agree that:

                                      3.4.2.1   if at any time either Party's Slot Holdings at any Slot Controlled
                                                Airp ort falls below      of the aggregate Slot Holdings of such Party
                                                at such Slot Controlled Airport as of the Applicable Date (such Party,
                                                the "Non-Maintaining Party"), and the other Party (the "Impacted
                                                Party") reasonably believes this would have a material adverse impact
                                                on the benefits the Impacted Party expects to obtain from this
                                                Agreement and the Related Agreements, the Impacted Party shall give
                                                notice to the Non-Maintaining Party and the Parties agree to negotiate
                                                in good faith for 30 days following the date of such notice regarding
                                                changes to the terms of this Agreement or any of the Related
                                                Agreements the Impacted Party reasonably believes are necessary to
                                                mitigate the impact resulting from the Non-Maintaining Party not
                                                maintaining its Slot Holding at or above such level;

                                      3.4.2.2   neither Party will voluntarily sell or otherwise transfer any slots at any
                                                Slot Controlled Airport, in each case, to a Major U.S. Carrier if the
                                                number of slots at such Slot Controlled Airport sold to Major U.S.
                                                Carriers in one or more sales during the term of this Agreement
                                                represents, cumulatively and in the aggregate,          or more of such
                                                Party's Slot Holdings at such Slot Controlled Airp ort as of the
                                                Applicable Date; and

                                      3.4.2.3   neither Party shall permit for any reason its Slot Holdings at any Slot
                                                Controlled Airport to be less than      of the aggregate Slot Holdings
                                                of such Party at such Slot Controlled Airport as of the Applicable Date
                                                (the "Slot Maintenance Threshold").

                            3.4.3      During the term of this Agreement, the Parties agree that:

                                      3.4.3.1   in the case that either Party sells or otherwise disposes of slots in
                                                breach of Section 3.4.2.2 above, the other Party may terminate this
                                                Agreement and the Related Agreements for cause upon 60 days' prior
                                                written notice to the selling Party; provided that the measure of any
                                                damages the terminating Party shall be entitled to seek shall be limited
                                                to the sum of any loss of profits arising out of the non-terminating
                                                Party's sale or disposition of slots in violation of Section 3.4.2.2,
                                                unless an Exclusivity Fee would also be payable pursuant to Section
                                                5.7.2; and




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                                      3.4.3.2   in the case that either Party does not maintain the Slot Maintenance
                                                Threshold at any Slot Controlled Airport and the other Party
                                                reasonably determines that not maintaining the Slot Maintenance
                                                Threshold would have a material adverse impact on the benefits the
                                                Impacted Party expects to obtain from this Agreement and the Related
                                                Agreements during the term, the Impacted Party may terminate this
                                                Agreement and the Related Agreements for convenience by (i)
                                                delivering 60 days' prior written notice to the Non-Maintaining Party
                                                and (ii) certifying to the Non-Maintaining Party that it has determined
                                                that such a material adverse impact has occurred on the Impacted
                                                Party, which certifcation shall include a reasonably detailed written
                                                explanation thereof; provided that such right of termination for
                                                convenience shall be the Impacted Party's sole remedy relating to the
                                                Non-Maintaining Party not maintaining the Slot Maintenance
                                                Threshold for any applicable Slot Controlled Airport. In the event of a
                                                termination for convenience pursuant to this Section 3.4.3.2, no
                                                termination fee would be due pursuant to Section 5.7 and the Parties
                                                acknowledge and agree that the Non-Maintaining Party not
                                                maintaining the Slot Maintenance Threshold for any applicable Slot
                                                Controlled Airport shall not be considered a breach of this Agreement
                                                for any purpose, including Section 5.4 or Section 5.7.4, and, subject to
                                                Section 3 .4 .3 .1, the Impacted Party shall not be entitled to any other
                                                remedies or damages, in law or equity in such event.

                  4        MANAGEMENT OF THE NEA

                      4.1 Management Committee.

                            4.1.1      The Parties agree to appoint a Management Committee to oversee the NEA on
                                       behalf of the Parties in the manner and to the extent set forth herein. The
                                       Management Committee will consist of four representatives, two appointed by
                                       each Party, at least one of which will be at a level in terms of functionality
                                       within each organization substantially equivalent to Vice President. A member
                                       of the Management Committee may resign at any time. Upon the resignation,
                                       removal, death or disability of a member of the Management Committee, the
                                       appointing Party will have the exclusive right to appoint another individual
                                       subject to the qualifcations set forth above. Each Party agrees to provide the
                                       other Party with prompt written notice of any change in the identity of its
                                       respective appointees to the Management Committee.

                            4.1.2      The Parties agree to hold regular meetings of the Management Committee at
                                       least quarterly (in person or by telephone) at mutually agreed times and
                                       locations. Decisions of the Management Committee must be made by a
                                       unanimous vote of its representatives.

                            4.1.3      The Management Committee will be responsible for and is hereby authorized to
                                       (i) ensure that the Parties are implementing the NEA pursuant to the terms of
                                       this Agreement and the Related Agreements; (ii) measure and report on the
                                       success of the NEA in achieving significant consumer benefits and the other
                                       commercial benefits (including financial) the Parties reasonably expect to



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                              days prior written notice to the other Party, subject to the terminating party paying the
                              Termination for Convenience Fee set forth in Section 5.7.1 below.

                     5.4      Termination for Cause. Either Party may terminate this Agreement upon 60 days'
                              prior written notice to the other Party upon a Material Default by the other Party,
                              unless within such 60-day period, the other Party cures its Material Default to the
                              Party's reasonable satisfaction.

                     5.5      Termination for Force Majeure. Either Party may terminate this Agreement upon
                              written notice to the other Party upon a Force Majeure Event with respect to the other
                              Party, which Force Majeure Event (i) has prevented such other Party from performing
                              its material obligations under this Agreement for at least 90 consecutive days, and (ii)
                              has a material adverse effect on the terminating Party.

                     5.6      Termination for Change of Control or Acquisition. Commencing on the
                              Implementation Date, the following terms shall apply:

                            5.6.1     Transaction with a Major U.S. Carrier. In the event either Party (i) undergoes a
                                      Change of Control directly or indirectly involving a Major U.S. Carrier or (ii)
                                      undertakes an Acquisition of a Major U.S. Carrier, or a transaction is
                                      announced which if consummated will result in a either of the foregoing, either
                                      Party may terminate this Agreement upon no less than 60 days' advance notice
                                      to the other Party and the Parties will commence disengagement during the
                                      notice period. The right to give notice to terminate with respect to such Change
                                      of Control or Acquisition will begin upon the earlier of (a) public
                                      announcement of a binding agreement of the transacting Party, which if
                                      consummated will result in a Change of Control or Acquisition, (b) public
                                      announcement of the recommendation of a transaction by the transacting Party
                                      which if consummated will result in a Change of Control or Acquisition, or (c)
                                      the occurrence of a Change of Control or Acquisition, and expire one year after
                                      consummation of such Change of Control or Acquisition. If either Party
                                      terminates this Agreement pursuant to this Section 5.6.1, the party undergoing
                                      the Change of Control or engaging in an Acquisition will pay the non­
                                      transacting party the M&A Termination Fee set forth in Section 5.7.4 by wire
                                      transfer of immediately available funds on the effective date of any such
                                      termination.

                            5.6.2     Transaction with a Non-Major U.S. Carrier. In the event either Party (i)
                                      undergoes a Change of Control involving a Non-Major U.S. Carrier or (ii)
                                      undertakes an Acquisition of a Non-Major U.S. Carrier, or a transaction is
                                      announced which if consummated will result in either of the foregoing, then
                                      either Party may terminate this Agreement in accordance with Section 5.9 if
                                      such transaction or contemplated transaction results in a Burdensome
                                      Condition. If either Party terminates this Agreement for a Burdensome
                                      Condition resulting from a Change of Control or Acquisition involving a Non­
                                      Major U.S. Carrier, the Party undergoing the Change of Control or engaging in
                                      an Acquisition will pay the non-transacting Party the M&A Termination Fee set
                                      forth in Section 5.7.4 by wire transfer of immediately available funds on the
                                      effective date of any such termination.




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                                      receiving the Termination Fee has incurred to engage in and foster the NEA
                                      (e.g., costs of implementing new Services) as well as (b) the anticipated
                                      benef ts the Party receiving the Termination Fee would have been likely to
                                      receive. The Parties agree that the Termination Fee constitutes liquidated
                                      damages, and not a penalty, and the payment thereof in such circumstances is
                                      supported by due and sufficient consideration. Notwithstanding anything to the
                                      contrary set forth in this Agreement, if this Agreement is terminated by either
                                      Party and the Termination Fee is paid to the non-terminating Party pursuant to
                                      this Section 5.7, then the payment to the non-terminating Party of the
                                      Termination Fee shall be the sole and exclusive remedy of the non-terminating
                                      Party and its Aff liates and Franchisees for any loss suffered by such Party and
                                      its Affiliates and Franchisees as a result of a breach by the other Party or its
                                      Affiliates or Franchisees of its obligations under the Related Agreement and the
                                      terminating Party shall have no right to, and agrees not to seek any money
                                      damages, whether in contract, tort or otherwise from the non-terminating Party
                                      or its Affiliates or Franchisees with respect to a breach of the terminating
                                      Party's obligations under the Related Agreements.

                            5.7.7     Each Party acknowledges and agrees that the covenants and agreements set
                                      forth in this Section 5.7 are an integral part of the transactions contemplated by
                                      this Agreement and without these covenants and agreements, the Parties would
                                      not have entered into this Agreement. Accordingly, if the Party that owes the
                                      Termination Fee fails to pay the Termination Fee in a timely manner, and, in
                                      order to obtain such payment, the receiving Party makes a claim that results in a
                                      judgment against the paying Party, the paying Party will also pay to the
                                      receiving Party that Party's reasonable costs and expenses (including
                                      reasonable attorneys' fees and expenses) incurred in connection with such suit,
                                      together with interest at the prime rate of Citibank N.A. in effect on the date
                                      such payment was required to be made.

                     5.8      Termination for Insolvency or Cessation of Operation. In the event of the dissolution,
                              liquidation, winding up (or equivalent action) of one of the parties, or the failure by
                              one of the parties to maintain its corporate existence, either in whole or with respect
                              to a substantial portion of its business, or the cessation of operations of one of the
                              parties for a period of more than ten days, the suspension or revocation of a party's
                              authority to operate as an airline for a period of more than ten days, or the filing by a
                              party for bankruptcy protection (such as a Chapter 7 or Chapter 11 filing, subject to
                              the exception for solvent reorganization as set forth below), the other party will be
                              entitled to terminate this Agreement immediately upon delivery of written notice.
                              Notwithstanding the foregoing, if a party undergoes solvent reconstruction or
                              reorganization following which the reconstructed or reorganized entity owns all or
                              substantially all of the assets owned by such party prior to the solvent reconstruction
                              or reorganization, the other party will only have a right to termination under this
                              Section 5.8 if as part of the bankruptcy or insolvency process a Competent Authority
                              mandates, or such party elects to make, material changes in the current or future
                              business operations of the party engaged in such process and the impact of those
                              mandated or elected changes has a material adverse effect on the other party in
                              connection with the NEA (e.g., if the party undergoing such reconstruction or
                              reorganization is required to reduce the amount of fying to the NEA Airports by a
                              greater proportional amount than its overall reduction in flying across its network);



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                                      otherwise end its use of, all slots of the other Party that it shared with, or leased
                                      or subleased from the other Party in accordance with Appendix C, as well as all
                                      gates of the other Party that it is then currently using. The Parties agree to
                                      discuss in good faith and implement as mutually-agreed any actions needed to
                                      effectuate the termination of this Agreement no later than at the end of the
                                      notice period.

                            5.11.2 The terms of the MGIA and all provisions of this Agreement will continue with
                                   respect to the NEA Services during any termination notice period (that period
                                   being the time from provision of notice until the completion of the time period
                                   stated in this Agreement associated with the nature of termination). In addition,
                                   the MGIA will survive for any period required to complete the audit,
                                   reconciliation and payment processes set forth in that agreement that apply to
                                   any period during which the NEA Services under this Agreement were flown.

                            5.11.3 If either Party terminates this Agreement, the MGIA will also automatically
                                   terminate (subject to Section 5.11.2). In addition, the terminating Party would
                                   have the option to terminate one or more of the other Related Agreements. If
                                   the non-terminating Party objects to the terminating Party's election, it shall
                                   notify the terminating Party and the Parties agree to promptly discuss in good
                                   faith the termination of the Related Agreements at issue. If the Parties do not
                                   reach agreement within 30 days, any Related Agreements that either Party
                                   wants to terminate, will terminate, subject to the wind-down provisions in
                                   Section 5.11.1 above.

                            5.11.4 Sections 11., 5.7.3, 5.11, 6, 7, 8, 9, 10.1, 10.5, 10.8, 10.13, Appendix A,
                                   Appendix C and Appendix D will survive any termination or expiration of this
                                   Agreement.

                  6        CONFIDENTIALITY

                      6.1 Except for discussions with, and the prov1s10n of this Agreement and the other
                          agreements contemplated hereby to, the relevant Competent Authorities and except as
                          expressly provided in this Agreement, neither Party may sell, transfer, publish, disclose,
                          display or otherwise make available the Confidential Information of the other Party to
                          any third party without the prior written consent of the Party whose Confidential
                          Information is at issue, except as may be required by Applicable Law (including
                          requirements by oral questions, interrogatories, subpoenas, civil investigative demands
                          or similar processes), in which case the Party from whom disclosure is sought (the
                          "Disclosing Party") will promptly notify the other Party (the "Affected Party"). To the
                          extent that the Affected Party objects to the disclosure of its Confidential Information,
                          the Disclosing Party will (at the Affected Party's expense) use all reasonable efforts to
                          (i) resist making any disclosure of such Confidential Information, (ii) limit the amount
                          of such Confidential Information to be disclosed, and (iii) obtain a protective order or
                          other appropriate relief to minimize the further dissemination of any Confidential
                          Information to be disclosed. In addition, the Parties agree to not disclose the
                          Confidential Information received to any of their respective representatives except on a
                          need-to-know basis for the purposes of implementing and administering this Agreement;
                          provided, however, that prior to any such disclosure the Disclosing Party will inform all
                          such representatives of the confidential nature of the information, and that it is subject to



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               "Implementation Date" has the meaning set forth in Section 1.4.

               "JetBlue" has the meaning set forth in the preamble.

               "Long-Haul Service" means a non-stop Scheduled Passenger Service with a total route distance equal to
               or greater than 3000 miles (as based upon the Great Circle Distances obtained from the U.S.
               Department of Transportation's Bureau of Transportation Statistics) and arriving in or departing
               from an NEA Airp ort.

               "Lounge Access Agreement" means the Lounge Access Agreement to be entered into by the Parties, and
               any amendments or successor agreements.

               "M&A Termination Fee" has the meaning set forth in Section 5.7.4.

               "Major U.S. Carrier" means an airline carrier with a                U.S. domestic market seat share.

               "Management Committee" means a joint management committee to oversee the NEA appointed by the
               Parties in accordance with Section 4.1.

               "Material Default" means a Party's failure to perform or observe any term of this Agreement or a Related
               Agreement which, individually or collectively with any other such failure by such Party would (or would
               reasonably be expected to) materially and adversely affect the collective benefits to the other Party under
               all of such agreements considered as a whole over the remaining terms of such agreements.

               "Mutual Growth Incentive Agreement" or "MGIA" has the meaning set forth in the Recitals.

               "NEA" has the meaning set forth in the Recitals.

               "NEA Airports" means the following airports: Boston Logan International Airport (BOS), John F.
               Kennedy International Airp ort (JFK), LaGuardia Airp ort (LGA) and Newark Liberty International Airp ort
               (EWR).

               "NEA Routes" means (a) all routes for all Short-Haul Services of JetBlue and its Affiliates and
               Franchisees; (b) all routes for all Short-Haul Services of American and its Affiliates and Franchisees, and
               (c) all routes for all Long-Haul Services of American and its Affiliates.

               "NEA Services" means all Scheduled Passenger Services of the Parties and their Affiliates and
               Franchisees flying on the NEA Routes.

               "Non-Maintaining Party" has the meaning set forth in Section 3.4.2.1.

               "Non-Major U.S. Carrier" means an airline carrier that is not a Major U.S. Carrier.

               "oneworld Alliance" means the multilateral global airline alliance branded as such, or any successor
               thereto.

               "Related Agreements" has the meaning set forth in Section 1.2.

               "Renewal Term" has the meaning set forth in Section 5.1.

               "Scheduled Passenger Service" means any Service that is published for display and sale to the public
               (either directly or through industry agents or other approved intermediary Parties) in industry schedule


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                                      unless sooner terminated in accordance with its terms.

                                      Neither Party may terminate a Frequent Flier Participation Agreement without
                                      cause as provided above effective prior to the effective date of termination of the
                                      NEA Agreement. The Frequent Flier Participation Agreements will also specify
                                      (a) a right to terminate the agreements if the NEA Agreement is terminated, and
                                      (b) a mechanism by which the Parties will negotiate whether to keep these
                                      agreements in effect if the NEA Agreement is terminated.

               Exclusivity            The Frequent Flier Participation Agreements will contain restnct1ons on
                                      participation in loyalty recognition programs of third party air carriers that are
                                      consistent with the scope of the restrictions in the Codeshare Agreement
                                      regarding entering into codesharing relationships with third party air carriers.




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                                                              Schedule 1

                                                   [Form of) Slot Lease Agreement

               This Slot Lease Agreement (this "Slot Lease") entered into as of this [_J day of [    ], 20[_J (the
               "Effective Date"), by and between American Airlines, Inc., a Delaware corporation ("American"), and
               JetBlue Airways, Inc., a Delaware corporation ("JetBlue").

                       WHEREAS, American and JetBlue have entered into an alliance (the "NEA"), governed by the
               Northeast Alliance Agreement, between American and JetBlue, dated as of[        �, 2020 (the "NEA
               Agreement") and related agreements as referenced therein to optimize each Party's network to enhance
               the experience ofpassengers flying to and from the NEA Airports; and
                    WHEREAS, American and JetBlue have agreed to slot usage and maintenance terms under the
               NEA Agreement (the "Slot Use Provisions") to facilitate the periodic lease ofSlots between the Parties.
                      NOW, THEREFORE, in consideration ofthe mutual promises and covenants contained in this
               Agreement, and other good and valuable consideration, the receipt and adequacy of which are hereby
               acknowledged, the Parties, intending to be legally bound, agree as follows:

                      Section 1.       Definitions. Capitalized terms used herein and not defined herein shall have the
               meanings ascribed thereto in the NEA Agreement.

                        Section 2.      Lease. Subject to the conditions precedent and the other terms and conditions set
               forth in the Slot Use Provisions, which terms are hereby expressly set forth herein with respect to the
               Leased Slots (as defined below) as if set forth herein, [American/JetBlue] as Providing Party agrees to
               lease the Slots described below (the "Leased Slots") on the terms described below.




                       Section 3.       Miscellaneous. The following provisions of the NEA Agreement will apply to
               this Slot Lease and are hereby incorporated herein mutatis mutandis: Articles §_ (Confidentiality), 1
               (Notices), li (Governing Law; Venue), 2. (Consequential Damages), and lQ. (Miscellaneous).

               IN WITNESS WHEREOF, the Parties have caused this Slot Lease to be executed by their authorized
               representatives as ofthe date first above written.

               AMERICAN AIRLINES, INC.                               JETBLUE AIRWAYS, INC.


                 By: ----------------                                 By:

               Title:                                               Title:




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                                                              Schedule 1

                                      Description of Data Processing for Codeshare Agreement

               This Schedule applies to the Codeshare Agreement entered into by and between American and JetBlue.
               Capitalized terms used herein but not defined in the Addendum will have the meaning set forth in the
               Codeshare Agreement.
               1. Categories of Covered Personal Data
               The Covered Personal Data concern the following categories:
               Full legal names, dates of birth, contact information, passport information or other applicable
               identification document information, PNR, travel itineraries and payment information.
               2. Categories of Data Subjects
               The Covered Personal Data concern the following categories of individuals:
               American's and JetBlue's Codeshared Passengers.
               3. Purpose and processing activities
               The Covered Personal Data will be Processed by the Receiving Party for the following purposes and
               subject to the following processing activities (collectively, the "Purpose"):
                   a. With respect to American as the Operating Carrier:
                           1.   The use of JetBlue's Covered Personal Data to book JetBlue's customers on flights
                                operated by American and provide related services (e.g., baggage services), to notify
                                JetBlue's customers of any changes to a scheduled flight, if needed, to determine
                                commissions payable by JetBlue, and the Processing of JetBlue's Covered Personal Data
                                as described in the Agreement and to provide the services described in the Agreement;
                          11    Uses of booking or PNR data which are consistent with American's Privacy Policy; and
                         111.   Billing of JetBlue for any amounts (i.e. commission) owed by JetBlue under the Related
                                Agreements, including for the resolution of any billing disputes.
                   b. With respect to JetBlue as the Operating Carrier:
                           1.   The use of American's Covered Personal Data to book American's customers on flights
                                operated by JetBlue and provide related services (e.g., baggage services), to notify
                                American's customers of any changes to a scheduled flight, if needed, to determine
                                commissions payable by American, and the Processing of American's Covered Personal
                                Data as described in the Agreement and to provide the services described in the
                                Agreement;
                          11.   Uses of booking or PNR data which are consistent with JetBlue's Privacy Policy; and
                         111.   The billing of American for any amounts (i.e. commission) owed by American under the
                                Related Agreements, including for the resolution of any billing disputes.




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                                                              Schedule 2

                           Description of Data Processing for AAdvantage Participating Carrier Agreement

               This Schedule applies to the AAdvantage Participating Carrier Agreement entered into by and between
               American and JetBlue. Capitalized terms used herein but not defined in the Addendum will have the
               meaning set forth in the AAdvantage Participating Carrier Agreement.
               1. Categories of Covered Personal Data
               The Covered Personal Data concern the following categories:
               Full legal names, dates of birth, contact information, passport information or other applicable
               identification document information, AAdvantage numbers, PNRs, travel itineraries and payment
               information.
               2. Categories of Data Subjects
               The Covered Personal Data concern the following categories of individuals:
               AAdvantage Members globally in connection with travel on JetBlue flights.
               3. Purpose and processing activities
               The Covered Personal Data will be Processed by the Receiving Party for the following purposes and
               subject to the following processing activities (collectively, the "Purpose"):
                   a. With respect to American as the Operating Carrier:

                          1.    The use of JetBlue's Covered Personal Data to track AAdvantage Members' AAdvantage
                                Accrual Miles and redemption on JetBlue flights, including to match JetBlue's customers
                                to AAdvantage Members in American's proprietary AAdvantage member database, in
                                order to permit American to provide AAdvantage Program benefits or awards to its
                                AAdvantage Members in connection with the joint marketing or promotional activities in
                                the Related Agreements;

                         11.    The use of JetBlue's Covered Personal Data to determine Accrual Mile fees payable by
                                JetBlue;

                         m.     Billing of JetBlue for any amounts owed by JetBlue under the Related Agreements,
                                including for the resolution of any billing disputes; and

                         1v.    In general, any uses of AAdvantage Members' Personal Data which are consistent with
                                the AAdvantage Program terms and conditions and American's Privacy Policy.

                   b. With respect to JetBlue:

                          1.    The use of American's Covered Personal Data in connection with certain marketing or
                                promotional activities in the Related Agreements;

                         11.    The use of American's Covered Personal Data to allow AAdvantage Members to redeem
                                AAdvantage Miles for certain eligible Award Flights;

                         m.     The use of American's Covered Personal Data to determine amounts payable by
                                American for each Award Travel Ticket Issued and Flown for Award Travel on JetBlue's
                                Award Flight;


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                         1v.    The billing of American for any amounts owed by American under the Related
                                Agreements, including for the resolution of any billing disputes; and

                          v.    In general, any uses of American's Covered Personal Data which are consistent with
                                JetBlue's Privacy Policy.




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                                                                 Schedule 3

                                Description of Data Processing for TrueBlue Participating Carrier Agreement

               This Schedule applies to the TrueBlue Participating Carrier Agreement entered into by and between the
               Parties. Capitalized terms used herein but not defined in the Addendum will have the meaning set forth in
               the TmeBlue Participating Carrier Agreement.
               1. Categories of Covered Personal Data
               The Covered Personal Data concern the following categories:
               Full legal names, dates of birth, contact information, passport information or other applicable
               identification document information, TrueBlue member account numbers, PNRs, travel itineraries and
               reservations and payment information.
               2. Categories of Data Subjects
               The Covered Personal Data concern the following categories of individuals:
               TmeBlue members globally in connection with travel on American flights.
               3. Purpose and processing activities
               The Covered Personal Data will be Processed by the Receiving Party for the following purposes and
               subject to the following processing activities (collectively, the "Purpose"):
                   a. With respect to American:

                           1       The use of JetBlue's Covered Personal Data in connection with certain marketing or
                                   promotional activities in the Agreement;

                         11.       The use of JetBlue's Covered Personal Data to allow TrueBlue members to redeem
                                   TrueBlue points for certain eligible Award Flights;

                         111.      The use ofJetBlue's Covered Personal Data to determine amounts payable byJetBlue for
                                   each Award Travel Ticket Issued and Flow for Award Travel on an American Award
                                   Flight;

                         1v.       The billing of JetBlue for any amounts owed by JetBlue under the Agreement, including
                                   for the resolution of any billing disputes; and

                          v.       In general, any uses of JetBlue's Covered Personal Data which are consistent with
                                   American's Privacy Policy.

                   b. With respect toJetBlue:

                           1.      The use of American's Covered Personal Data to track TrueBlue members' JetBlue
                                   TrueBlue point accrual and redemption on American flights, including to match
                                   American's customers, to TrueBlue members in JetBlue's proprietary member database,
                                   in order to permit JetBlue to provide TrueBlue Program benefits or awards to its
                                   TrueBlue members in connection with the joint marketing or promotional activities in the
                                   Agreement;

                         11.       The use of American's Covered Personal Data to Accrual Mile fees payable by
                                   American;


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                         111.   The billing of American for any amounts owed by American under the Agreement,
                                including for the resolution of any billing disputes; and

                         1v.    In general, any uses of JetBlue TrueBlue members' Personal Data which are consistent
                                with the TrueBlue Program terms and conditions and JetBlue's Privacy Policy.




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